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 6                              UNITED STATES DISTRICT COURT

 7                                       DISTRICT OF NEVADA

 8
     FRAN DONOVAN et al.,                              )
 9                                                     )
                           Plaintiffs,                 )
10                                                     )        2:08-cv-01675-RCJ-NJK
            vs.                                        )
11                                                     )
     FLAMINGO PALMS VILLAS, LLC et al.,                )                ORDER
12                                                     )
                           Defendants.                 )
13                                                     )

14          This case arises out of an alleged conspiracy to defraud investors in a condominium

15   development in Las Vegas. Three Defendants whose claims were previously dismissed or

16   summarily adjudicated have asked the Court to direct the Clerk to enter judgment.

17                                          CONCLUSION

18          IT IS HEREBY ORDERED that the Motions for Entry of Judgment (ECF Nos. 1280,

19   1281) are GRANTED. The Clerk shall enter judgment in favor of Wells Fargo Bank, N.A.,

20   EMC Mortgage Corp., and JP Morgan Chase Bank, N.A. on all claims and close the case.

21          IT IS SO ORDERED.

22   Dated
     Datedthis
           this11th
                9th day
                    dayofofJune,
                            July,2013.
                                  2013.

23
                                                 _____________________________________
24                                                        ROBERT C. JONES
                                                        United States District Judge
25
